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                                                                           Eastern Distrtot of Xentuo.ky
                          UNITED STATES DISTRICT COURT
                                                                                   FIL ID
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                                                                OCT    -s 2021
                                   COVINGTON                                      AT COVINGTON
                                                                                 ROBERT R. CARR
                                                                             CLERK U.S. DISTRICT COURT
   CRIMINAL ACTION NO. 20-3-S-DLB

   UNITED STATES OF AMERICA                                                        PLAINTIFF


   V.                          BINDING PLEA AGREEMENT


   DAVID THOMAS SOWARD                                                        DEFENDANT

                                          * * * * *
          1. Pursuant to Federal Rule of Criminal Procedure 1l(c), the Defendant will enter

   a guilty plea to Count 2 of the Superseding Indictment, charging a violation of 18 U.S.C.

   § 2252(a)(4)(B) (Possession of Child Pornography). Pursuant to Rule 1 l(c)(l)(A), the

   United States will move at sentencing to dismiss the original Indictment and Count 1 of

   the Superseding Indictment. Pursuant to Rule 1 l(c)(l)(C), the United States and the

   Defendant agree to a specific sentence. Pursuant to Rule 1 l(c)(4), if the Court accepts

   this plea agreement, the agreed disposition will be included in the judgment.

          2. The essential elements of Count 2 are:

                 (a) The Defendant knowingly possessed one or more matters which
          contained any visual depiction of a minor engaged in sexually explicit conduct;

                  (b) Such visual depiction had been mailed, shipped, or transported in
          interstate or foreign commerce, by any means, including by computer;

                (c) The production the visual depiction involved the use of a minor
          engaging in sexually explicit conduct and the visual depiction was of such
          conduct; and
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                  (d) The Defendant knew that the visual depiction involved the use of a
            minor engaging in sexually explicit conduct.

            3. As to Count 2, the United States could prove the following facts that establish

   the essential elements of the offense beyond a reasonable doubt, and the Defendant

   admits these facts:

                   (a) On May 22, 2019, the Defendant logged into his Yahoo! email account
           (sowardd@yahoo.com) at the Kenton County Library and emailed images of child
           pornography to himself. As a result, Yahoo submitted a CyberTipline Report to
           the National Center for Missing and Exploited Children (NCMEC); the report
           contained the user account (sowardd@yahoo.com), potential location (Crestview
           Hills, Kentucky), the Defendant's name and date of birth, and relevant IP
           addresses. The report also included approximately 108 images of child
           pornography. Yahoo! deactivated the email account on May 23, 2019 and
           NCMEC forwarded the report to law enforcement for further investigation.

                   (b) On July 4, 2019, a detective with the Kenton County Police
           Department (KCPD) executed a search warrant on Oath Holdings, Inc. (Yahoo!)
           for the contents of subject email account. The detective located the May 22, 2019
           email that was sent at approximately 5:28 p.m. (a date and time which was
           consistent with the Kenton County Public Library records obtained regarding the
           Defendant's activity). The detective went to the Kenton County Library and
           spoke with the branch manager, who checked the library card activity records for
           the Defendant and confirmed activity on the Defendant's library card at that
           branch on May 22, 2019 at the approximate time as reported in the CyberTipline
           Report. The library also confirmed the Defendant's address on Campus Drive in
           Crestview Hills, Kentucky. Law enforcement determined through wage file data
           that the Defendant worked at the Burger King in Edgewood, Kentucky, which was
           the subscriber of one of the two IP addresses listed in the CyberTipline report.

                   (c) On December 17, 2019, agents executed a search warrant at the
           Defendant's residence. Prior to execution of the search warrant, a cell phone on
           the Defendant's person was taken into custody. A later review of the contents of
           that cell phone by law enforcement revealed 466 images and 7 videos of child
           pornography. 1

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    This evidence has been suppressed by the Court but may, nevertheless, be considered as relevant conduct at
   sentencing. See United States v. Hill, 79 F.3d 1477, 1481 (6th Cir. 1996) ("[U]nder Sixth Circuit precedent
   suppressed evidence may be considered relevant conduct.") (citing United States v. Jenkins, 4 F.3d 1338, 1344-45
   (6th Cir. 1993));


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                (d) On July 9, 2020, law enforcement obtained a search warrant for the
          Defendant's Gmail account (sowarddavidl@gmail.com). A review of the
          contents revealed child pornography that had been uploaded to the Defendant's
          account via the internet.

                 (e) The Defendant admits possessing the images that were found in his
          Gmail account; he further admits that the images depict minors engaging in
          sexually explicitly conduct and that he knew that the images depicted as much.

                 (f) The Defendant admits that he was previously convicted in 2004 in this
          Court (Covington Case No. 04-cr-41-DLB) of possession of child pornography,
          and was sentenced to 41 imprisonment and 3 years of supervised release.

          4. The statutory punishment for Count 2 is not less than 10 years and not more

   than 20 years imprisonment, a $250,000 fine, and supervised release for not less than 5

   years and not more than life. The Defendant has a prior felony conviction under Chapter

   110 of Title 18 of the United States Code and is, therefore, subject to the above enhanced

   statutory punishment. A mandatory special assessment of $100 applies, and the

   Defendant will pay this assessment to the U.S. District Court Clerk at the time of the

   entry of the plea.

          5. The United States and the Defendant agree to the following sentencing

   guidelines calculations and specific sentence, which binds the Court upon acceptance of

   this plea agreement.

                (a) United States Sentencing Guidelines (U.S.S.G.), November 1, 2018,
          manual, determines the Defendant's guidelines range.

                 (b) Pursuant to U.S.S.G. § 1B1.3, the Defendant's relevant conduct
          includes, but is not limited to, the facts outlined in paragraph 3.

                 (c) Pursuant to U.S.S.G. § 2G2.2(a)(l), the base offense level is 18.



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                (d) Pursuant to U.S.S.G. § 2G2.2(b)(2), increase by 2 levels because the
         material involved children under 12 years of age.

                (e) Pursuant to U.S.S.G. § 2G2.2(b)(3)(F), increase by 2 levels because the
         offense involved distribution other than distribution otherwise described.

                (t) Pursuant to U.S.S.G. § 2G2.2(b)(6), increase by 2 levels because the
         offense involved the use of a computer.

                (g) Pursuant to U.S.S.G. § 2G2.2(b)(7)(D), increase by 5 levels because the
         offense involved over 600 images.

                (h) Pursuant to U.S.S.G. § 3El .1 and unless the Defendant commits
         another crime, obstructs justice, or violates a court order, decrease the offense
         level by 2 levels for the Defendant's acceptance of responsibility. If the offense
         level determined prior to this 2-level decrease is level 16 or greater, the United
         States will move at sentencing to decrease the offense level by 1 additional level
         based on the Defendant's timely notice of intent to plead guilty.

                 (i) Pursuant to U.S.S.G. § 5El.1 , restitution will be determined at
         sentencing. The Defendant agrees to pay restitution equal to the loss caused to any
         victim of the offense of conviction as well as any victims whose images are
         contained in the relevant conduct described in Paragraph 3, pursuant to 18 U.S.C.
         §§ 2259, 3663 and 3663A. This agreement by the Defendant is applicable only for
         identified victims who request restitution on or before the date of the sentencing
         hearing.

                (j) The Defendant's total offense level is level 26.

                (k) The Defendant is a criminal history category III.

                (1) Based on offense level 26 and criminal history category III, the advisory
         Guideline range is 78 to 97 months of imprisonment. However, pursuant to
         U.S.S.G. § 5Gl.l(b), the higher statutory minimum sentence of 120 months shall
         be the guidelines sentence.

                (m) The Defendant's sentence of imprisonment shall be 120 months.

                (n) The Defendant's term of supervised release shall be 10 years. In
         addition to the mandatory and special conditions of supervised release listed in
         U.S.S.G. § 5Dl.3, the conditions of supervised release shall also include the



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          special conditions typically imposed by this Court in cases involving child
          pornography.

          6. The Defendant waives the right to appeal the guilty plea, conviction, and

   sentence. Except for claims of ineffective assistance of counsel, the Defendant also

   waives the right to attack collaterally the guilty plea, conviction, and sentence.

          7. The Defendant agrees to cooperate fully with the United States Attorney's

   Office by making a full and complete financial disclosure. Within 30 days of pleading

   guilty, the Defendant agrees to complete and sign a financial disclosure statement or

   affidavit disclosing all assets in which the Defendant has any interest or over which the

   Defendant exercises control, directly or indirectly, including those held by a spouse,

   nominee, or other third party, and disclosing any transfer of assets that has taken place

   within three years preceding the entry of this plea agreement. The Defendant will submit

   to an examination, which may be taken under oath and may include a polygraph

   examination. The Defendant will not encumber, transfer, or dispose of any monies,

   property, or assets under the Defendant's custody or control without written approval

   from the United States Attorney's Office. If the Defendant is ever incarcerated in

   connection with this case, the Defendant will participate in the Bureau of Prisons Inmate

   Financial Responsibility Program, regardless of whether the Court specifically directs

   participation or imposes a schedule of payments. If the Defendant fails to comply with

   any of the provisions of this paragraph, the United States, in its discretion, may refrain

   from moving the Court pursuant to U.S.S.G. § 3El.l(b) to reduce the offense level by




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   one additional level, and may argue that the Defendant should not receive a two-level

   reduction for acceptance ofresponsibility under U.S.S.G. § 3El. l(a).

          8. The Defendant understands and agrees that, pursuant to 18 U.S.C. § 3613,

   whatever monetary penalties are imposed by the Court will be due and payable

   immediately and subject to immediate enforcement by the United States. If the Court

   imposes a schedule of payments, the Defendant agrees that it is merely a minimum

   schedule of payments and not the only method, nor a limitation on the methods, available

   to the United States to enforce the judgment. The Defendant waives any requirement for

   demand of payment on any fine, restitution, or assessment imposed by the Court and

   agrees that any unpaid obligations will be submitted to the United States Treasury for

   offset. The Defendant authorizes the United States to obtain the Defendant's credit

   reports at any time. The Defendant authorizes the U.S. District Court to release funds

   posted as security for the Defendant's appearance bond in this case, if any, to be applied

   to satisfy the Defendant's financial obligations contained in the judgment of the Court.

          9. This document and the supplement contain the complete and only Plea

   Agreement between the United States Attorney for the Eastern District of Kentucky and

   the Defendant. The United States has not made any other promises to the Defendant.

          10. This Agreement does not bind the United States Attorney's Offices in other

   districts, or any other federal, state, or local prosecuting authorities.

          11. The Defendant and the Defendant's attorney acknowledge that the Defendant

   understands this Agreement, that the Defendant's attorney has fully explained this


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             Agreement to the Defendant, and that the Defendant's entry into this Agreement is

             voluntary.

                                                     CARLTON S. SHIER, IV
                                                     ACTING UNITED STATES ATTORNEY


             Date:    m( l.t I~               By:
                                                     Elaine K. Leo d
                                                     Assistant United States Attorney



             Date:   _q~µ_3}_l._l _ _                / 7/:5~~
                                                     David Thomas Soward
                                                                         7

                                                     Defendant




            Date:     9&J /l-1                      ~                  -----
                                                     Attorney for Defendant




                     APPROVED, t h i s ~ day of




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